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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 HOPE COLEMAN, individually and as the
 legal representative of the ESTATE of
 TERRENCE J. COLEMAN,
             Plaintiff,                                         No. 18-cv-10646-MLW

         v.

 CITY OF BOSTON et al.,
         Defendants.


        PLAINTIFF HOPE COLEMAN’S MOTION FOR SANCTIONS AGAINST
          DEFENDANT CITY OF BOSTON FOR DISCOVERY VIOLATIONS
                AND INCORPORATED MEMORANDUM OF LAW

       Pursuant to Federal Rules of Civil Procedure 16(f) and 37(b)(2), Plaintiff Hope Coleman

hereby files this Motion seeking sanctions for repeated discovery violations by Defendant City of

Boston. Specifically, Ms. Coleman requests that the Court: (1) direct that certain designated facts be

taken as established for purposes of this action; (2) order the completion of the City’s Rule 30(b)(6)

deposition under the Court’s “live” supervision; (3) impose financial sanctions to compensate Ms.

Coleman for attorneys’ fees and expenses incurred litigating these discovery matters; and (4) grant any

further relief the Court deems appropriate. She requests a hearing in this matter.

                                         BACKGROUND

       On October 30, 2016, Defendant Garrett Boyle, an officer with the Boston Police Department

(“BPD”), shot and killed Terrence Coleman, a 31-year-old African-American man living with mental

illness, outside the Coleman family home. Boyle and Defendant Kevin Finn, another BPD officer,

had responded to a 911 call from Plaintiff Hope Coleman, who requested an ambulance to transport

Terrence, her son, to Tufts Medical Center for medical attention. There is no body camera or other

footage of the fatal shooting; only the accounts of five witnesses: Ms. Coleman, Defendants Boyle




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and Finn, and Kyle MacKinnon and Terrence Mentele, EMTs with Boston Emergency Medical

Services (“BEMS”), who also responded to the 911 call.

       Ms. Coleman was interviewed by BPD detectives immediately after the shooting, at 2:29 am,

at the hospital, just minutes after finding out her son had passed away. In that recorded interview, Ms.

Coleman unequivocally stated that she witnessed the entire incident, that Terrence did not have a knife

or any other weapon, and that he posed no threat to the officers, EMTs, or anyone else, when Boyle

shot and killed him. Nevertheless, the following day – before the officers or EMTs had been

interviewed – Defendant William Evans, then-Commissioner of the BPD, went in front of the news

media and publicly reported that Terrence had violently attacked the EMTs with a “large knife,”

requiring the officers to use deadly force against him. D.E. 62 ¶ 62.

       Meanwhile, investigators from the BPD’s Firearms Discharge Investigation Team (“FDIT”)

waited several days to interview Boyle, Finn, and the EMTs. During that period, the investigators

failed to separate the witnesses, collect their electronic devices (or any relevant communications on

those devices), or instruct the officers and EMTs not to communicate with each other about the

incident. To the contrary, all four individuals were represented by the same union and the same law

firm, and they convened in person prior to their formal interviews. During the ensuing interviews, in

the presence of their attorneys, the officers and EMTs all told versions of the same story: Terrence

attacked them with a knife, so Boyle had to shoot and kill him.

       The BPD’s handling of the aftermath of the shooting encouraged collusion between the

officers and the EMTs to produce the false narrative that Terrence attacked the EMTs with a knife.

Not only did Evans almost immediately tell the media Terrence was armed with a knife, and not only

were the officers and EMTs given several days to communicate and align their stories, but within a

few days of the shooting, the BPD re-issued firearms to Boyle and Finn. This happened before the

officers had even been interviewed, and before any preliminary investigative findings could have been



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made. Further, even though the BPD deemed Boyle and Finn medically and psychologically fit to

carry weapons, it nevertheless placed both officers on “leave,” supposedly due to injuries they

sustained.

        Much of the discovery at issue in this Motion concerns the City’s inadequate investigation of

the shooting, failure to discipline the officers, almost immediate re-issuance of firearms to them, and

the as-yet unexplained decisions about their “leave” status and later return to work. These post-

shooting events are relevant to Ms. Coleman’s claims against the City and other defendants because

they bear on the credibility of Boyle, Finn, and Evans. Separately and independently, they also serve

as evidence of the culture, pattern, and practice at the BPD prior to the shooting. See Bordanaro v.

McLeod, 871 F.2d 1151, 1167 (1st Cir. 1989) (“Post-event evidence can shed some light on what

policies existed in the city on the date of an alleged deprivation of constitutional right”); Kibbe v.

Springfield, 777 F.2d 801, 806 (1st Cir. 1985) (police chief’s failure to make changes in practice in the

aftermath of incident permitted inference that officers’ actions were “‘the way things are done and

have been done in the City of Borger’ and thus reflected city policy”) (citing with approval and

discussing Grandstaff v. City of Borger, 767 F.2d 161, 171 (5th Cir. 1985)).

                                     PROCEDURAL HISTORY

        The City has failed, for years, to meet its discovery obligations in this case. See D.E. 114 at 2,

5, 16-22 (detailing late production of documents and inadequate preparation of Rule 30(b)(6)

witnesses). After exhausting her available alternatives, on March 18, 2022, Ms. Coleman moved to

compel the production of certain documents and to re-open the City’s Rule 30(b)(6) deposition and

Evans’ deposition. See D.E. 114.

        On September 15, 2022, after hearing argument, this Court allowed Ms. Coleman’s motion

and ordered as follows:

        defendants shall: (a) produce all documents concerning the discussions defendants
        Boyle and Finn had with the [BPD] evaluators regarding their fitness to return to duty;


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       (b) produce all documents concerning training for the BPD’s Firearm Discharge
       Investigation Team (“FDIT”); (c) produce all documents concerning the policies,
       practices, or training concerning the return of firearms to police officers following
       shootings resulting in death, and all documents concerning the reissuance of firearms
       to Boyle and Finn, including, but not limited to, the related applications for licenses to
       carry firearms and documents related to Exhibit 1 of the Motion [D.E. 114-1]; and (d)
       identify one or more witnesses sufficiently knowledgeable to answer questions on the
       issues of (i) the FDIT investigation of Boyle and Finn, (ii) the finding that Boyle and
       Finn were fit to return to duty and the reissuance of firearms to them, and (iii) whether
       the BPD has ever reexamined its Rule 303 concerning the use of deadly force.

D.E. 127 (“the September 15 Order”) ¶ 3. The need to re-open depositions was based on the

inadequate preparation and knowledge of the City’s Rule 30(b)(6) witnesses, see D.E. 114 at 19-20,1

and the City’s late production of documents, such that Ms. Coleman did not have relevant documents

when she deposed the witnesses. See D.E. 130 at 35 (discussion of Ms. Coleman’s inability to question

Evans concerning D.E. 114-1, the re-issuance of firearms documents2).

       During the hearing, the Court directed the parties to its recent decision in Red Wolf Energy

Trading, LLC v. Bia Cap. Mgmt., LLC, No. CV 19-10119-MLW, 2022 WL 4112081 (D. Mass. Sept. 8,

2022). See D.E. 130 at 37-38. It ordered the parties to report back to the Court on September 28, 2022,

and October 12, 2022. D.E. 127, which they did.

       On September 29, 2022, the City requested an extension of the time until October 4, 2022, to

respond to the Court’s order and to supplement its discovery production, D.E. 132, which the Court

allowed. D.E. 133. Then, the City requested Ms. Coleman’s assent to extend the deadline to complete

its Rule 30(b)(6) deposition until December 12, 2022, on the ground that the City had new counsel

(its fourth and fifth attorneys assigned to this case since inception) and needed two additional months



       1
          Ms. Coleman corrects the following mistake in the discussion of cases at D.E. 114 at 19:
Calzaturficio S.C.A.R.P.A., v. Fabiano Shoe Co., 201 F.R.D. 33, 36 (D. Mass. 2001), was authored by
Magistrate Judge Collings.
       2
         Ms. Coleman refers to D.E. 114-1 as the “re-issuance forms” or “re-issuance documents” –
the internal documents by which the BPD, and Evans personally, authorized the re-issuance of
firearms to Boyle and Finn as early as November 2, 2016.


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to prepare its Rule 30(b)(6) witnesses. Ms. Coleman reluctantly agreed to the extension of the fact

discovery deadline to December 12, 2022, which the Court adopted. See D.E. 139, 140. The City is

now seeking a further extension to January 9, 2023, D.E. 141, which Ms. Coleman opposes. See D.E.

142.

        With regard to document discovery, the September 15 Order required the City to produce:

the BPD’s medical and psychological evaluations of Boyle and Finn, Sept. 15 Order ¶ 3(a); all

documents accompanying the firearm re-issuance forms, D.E. 114-1, including any “attached sheet[s]”

concerning supposed physical/mental health exams and the “IAD records and other information

supplied” to BPD officials who signed the forms, see id. ¶ 3(c); and the officers’ applications for licenses

to carry firearms as private citizens, see id. As of this filing, the City has produced some of the ordered

documents but failed to produce all of them, as discussed more fully below.

        With regard to its Rule 30(b)(6) deposition, the City designated Evans to answer questions

concerning topics (ii) and (iii) of the September 15 Order (“whether the BPD has ever reexamined its

Rule 303 concerning the use of deadly force” (emphasis added), and the BPD’s decisions concerning

Boyle and Finn’s return to work and the re-issuance of firearms to both officers), and Detective

Thomas Pratt to address topic (i) (the FDIT investigation of the fatal shooting).

        On December 6, 2022, the City produced Evans for deposition, 3 but Evans repeatedly

admitted that he could not answer questions and had not prepared to testify on the City’s behalf, as

discussed further below. Moreover, despite the deadline to complete fact discovery by December 12,

2022, which the City proposed, the City has not yet produced Pratt to answer questions about the

FDIT investigation of the Coleman shooting.




        3
         Evans testified in both in his personal capacity and on the City’s behalf, pursuant to Fed. R.
Civ. P. 30(b)(6).



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                                            ARGUMENT

I.      THE CITY VIOLATED THE COURT’S ORDERS AND THE DISCOVERY
        RULES BY FAILING TO PRODUCE ADEQUATELY PREPARED RULE 30(b)(6)
        WITNESSES, FAILING TO PRODUCE DOCUMENTS, AND DELAYING THE
        PRODUCTION OF DOCUMENTS.

     A. The City failed to prepare Evans to testify and failed to produce Pratt.

        Since the Court’s September 14 and 15 orders and its subsequent order adopting the jointly

proposed fact discovery deadline of December 12, the City has produced one deponent (Evans) who

was so ill-prepared as to defeat the purpose of the Rule 30(b)(6) deposition, and it has failed to produce

the other deponent (Pratt).

        First, the City designated Evans to address the BPD’s re-evaluation and re-examination of

Rule 303. Yet when Evans appeared for the Rule 30(b)(6) deposition, he was not aware of major

changes to Rule 303 in 2020, the basis for those changes, or even that he would be asked to address

the re-examination of Rule 303.

        Q. [Showing the witness the 2020 revision of Rule 303] Are you familiar with this?
        A. No.
        Q. Have you ever seen this document before?
        A. No. I left in 2018.
        Q. Did you review any documents since 2018 in preparation to testify on the City’s
        behalf?
        A. No. This is the first time I’ve seen this, when I was provided this this morning. I
        have not read it.
        Q. The bold language on here is new; is that fair to say?
        A. I don’t know. I haven’t looked at it.... Like I said, I just got this about 15 minutes
        ago.
        Q. Are you aware that you are testifying on the topic of the evolution and reevaluation
        of Rule 303?
        MS. BOSTWICK: Objection.
        A. I did not know I was going to talk about the evolution of the rule. I knew I was
        going to speak about the rule.

Tr. at 11-13, attached as Exhibit A.




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       With regard to the requirements in the new version of Rule 303 that officers attempt to de-

escalate when feasible and consider whether subjects’ non-compliance may be due to mental illness

or other circumstances, Evans was unable to speak to the reasons for the changes.

       Q. [The 2020 version of Rule 303] says, “Prior to using physical non-deadly and/or
       deadly force, all Boston police officers, when possible and feasible, will use proper de-
       escalation techniques to decrease the likelihood that officers will need to utilize use of
       force, and to minimize the level of force required,” do you see that?
       A. Yes.
       Q. Was there a BPD policy on de-escalation in 2016?
       A. This policy was not in effect.
       Q. Was there a policy, a different policy, on de-escalation prior to this?
       A. Well, Rule 303 speaks to de-escalation in the sense that you meet the continuum of
       force. So if someone has different weapons coming at you, the rule specifies that you
       can use nonlethal force or lethal force. So that is inherent in that policy on how to use
       de-escalation tactics. . . .
       ....
       Q. In 2016, were officers required to de-escalate?
       MS. BOSTWICK: Objection
       A. Always by the letter of the law, by the letter of the policy. If someone -- the policy
       implies if someone was coming at them with their hands, they weren’t authorized to
       use deadly force. So this de-escalation policy was implied in Rule 303 and 304, and
       that’s the way the officers were trained in the academy.
       Q. So my question is, were they required to use de-escalation when possible and when
       feasible?
       MS. BOSTWICK: Objection.
       A. Absolutely. We were always taught if we didn’t have to use deadly force, that would
       be a last resort.
       Q. Where was that rule written down?
       A. It’s in Rule 303. The only time you can use deadly force is when you are met with
       the threat of deadly force or someone else is in imminent danger of great bodily harm
       or deadly force. It’s clearly in Rule 303, and normally the force clearly spells it in 304.
       Q. And if in that situation an officer was met with a certain amount of force and could
       either respond with force or de-escalate, in 2016 did the BPD require the officer to
       attempt to de-escalate when possible and when feasible?
       MS. BOSTWICK: Objection.
       A. We always trained our officers that if they are not met with lethal force, then they
       shouldn’t be using Rule 303. I always thought we used a lot of restraint. That was
       taught in the academy, and it’s clearly spelled out in the rules that if someone is
       unarmed, you do not use deadly force. There’s no doubt about it.
       ....
       Q. What caused the BPD to change its policy [to add the de-escalation requirement]?
       MS. BOSTWICK: Objection.
       A. I have no clue why. I can guess. You know, I can guess what it was, but I was not
       involved in the BPD. I left in August of 2018. I don’t know what discussions took
       place to change the policy. You know, I can guess, but it’s just -- I had no input to it.


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        Q. What did you do in your capacity as a witness on behalf of the City to prepare to
        answer questions about this?
        MS. BOSTWICK: Objection.
        A. You know, I met with the City’s attorneys two days ago. Again, like I said to you
        earlier, I printed this morning the two exhibits that were given to me. I just briefly
        looked at them before I got on the Zoom call.

Tr. at 13-18.

        Evans was similarly unable or unwilling to answer questions concerning the change in the new

version of Rule 303 that requires officers to “us[e] effective communication techniques to engage with

individuals who are not compliant with orders by establishing rapport, asking questions and providing

advice to defuse[sic] conflict and achieve voluntary compliance before resorting to force options,” Ex.

B4 at COB 6398:

        Q. Why were those things added to the rule?
        MS. BOSTWICK: Objection.
        A. I have no idea. I was long gone by then.
        Q. What have you done as a witness on behalf of the City to determine why the City
        added this language?
        A. Nothing.

Tr. at 22.

        The same was true concerning the BPD’s requirements, added in 2020, that officers attempt

to determine whether an individual’s non-compliance may be due to mental illness, drug intoxication,

or other factors beyond the individual’s control, before resorting to deadly force. See id. at 26-27; Ex.

B at COB 6398. With regard to the addition of language in Rule 303 that permits officers to

“disengage,” if subjects are not interested in police interventions or assistance, see id., Evans testified:

        Q. What caused the change?
        A. I have no clue. Again, I can speculate, but I wasn’t involved in the discussions.
        Q. Did you do anything to learn about the changes?
        A. Not within the Boston Police Department, no.



        4
          Exhibit B, the 2020 amendment to Rule 303, was originally designated as “confidential” by
the City under the Protective Order. By email dated December 23, 2022, the City agreed to withdraw
that designation so as to permit the public filing of the document.


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Tr. at 28-29.

        The City has stated that it was not aware Ms. Coleman wished to ask questions about the re-

evaluation of Rule 303 subsequent to Evans’ tenure. See Ex. C. But this Court’s September 15 order

was unambiguous, directing the City to “identify one or more witnesses sufficiently knowledgeable to

answer questions on … whether the BPD has ever reexamined its Rule 303 concerning the use of

deadly force” (emphasis added).

        Even apart from this Court’s order, it was unreasonable for the City to have expected the Rule

303 “reexamin[ation]” topic, Sept. 15 Order ¶ 3, to be limited to changes in or before 2018. In fact,

the line of questioning that Det. Pratt initially failed to address – the ground for Ms. Coleman’s motion

to compel – concerned updates subsequent to the 2003 version, which was in effect in 2016. See Pratt

Tr., D.E. 114-6, at 45-7. Ms. Coleman asked the witness whether the 2003 version of Rule 303 was

“the most up-to-date version,” to which the witness stated (erroneously) that he thought it was. Id. at

45. Ms. Coleman then inquired “‘whether ... Rule 303 has ever been ... reevaluated or reexamined to be

updated” and “when the most recent time was that it was reevaluated or reexamined,’” questions the

witness was unable to answer. D.E. 114 at 15 (quoting Pratt Tr. at 46-47) (emphasis added); see also

D.E. 130 at 48 (discussing at Sept. 14 hearing the question “whether Rule 303 had ever been

reexamined”); id. at 54-55 (Plaintiff explaining that she was interested in “remedial measures” and

“whether [the City] ha[d] looked into problems and become aware of problems in the implementation

of that rule”). These questions sought information about subsequent measures the City had

undertaken to respond to the crisis of police violence against mentally ill individuals, especially persons

of color. Moreover, the City produced the 2020 amendment in discovery. It is only logical that Ms.

Coleman would ask the “re-examination” witness questions about the documents.

        Finally, the City’s assertion that “Evans was not qualified to answer any questions about any

BPD rule or regulation after he left BPD nor would any other police commissioner,” Ex. C, only



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underscores the fundamental deficiency in the City’s approach to its Rule 30(b)(6) depositions: it is

obligated to prepare a witness to speak to “information known or reasonably available to the

organization” – not simply information the witness is personally “qualified” to speak to based on

personal knowledge. Fed. R. Civ. P. 30(b)(6). Through nine different witnesses, the City has failed to

live up to that obligation.

         As the City’s Rule 30(b)(6) witness, Evans was not even prepared to answer questions about

any substantive revisions to Rule 303 during his own tenure or whether/where any such revisions may

have been written down:

         Q. [W]as the rule revised during your tenure as Commissioner?
         A. I’m sure they looked at it numerous times, but I can’t be sure if there was any
         revisions. You know, again, I was the Commissioner from 2013 to 2018. I am not sure
         for sure. You know, looking at these notes, I would say no, but I’m not sure if there
         were any revisions to it or if there was any talk of revisions.... You know, to the best
         of my recollection I can’t be sure. I can look at what is on paper, but I’m not sure if
         there were any internal changes internal changes to the rule that didn't happen to make
         it to the paper. I’m not sure.

Id. 6-7. Similarly, in response to the question whether the BPD “conduct[ed] any assessment of Rule

303 prior to the[] [2020] changes,” Evans testified:

         A. I have no knowledge of that.
         Q. Did you do anything to find out?
         A. I did not.

Id. at 35.

         Second, the City designated Evans to address the topic of Boyle’s and Finn’s leave after the

shooting, their return to work, and the re-issuance of firearms to both officers, along with related

documents the BPD had produced. The issues of leave status, fitness to return, and re-issuance of

firearms are relevant to the BPD’s investigation of the shooting, BPD’s collusion in the aftermath of

Terrence’s death, and the credibility of the officers’ claims of physical injury and/or psychological

trauma as a result of the alleged altercation with Terrence.




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        Ms. Coleman’s understanding, based on imperfect and incomplete information from the City

(and the officers themselves), is that Boyle and Finn went out “on leave” shortly after the shooting,

and remained out for several weeks (in Finn’s case) and several months (in Boyle’s case) due to

purported injuries that they had suffered. But the available medical records do not document any

serious injuries, and the BPD produced internal forms purporting to clear the officers, physically and

mentally, to be re-issued firearms as of November 2, 2016, three days after the shooting. See D.E. 114-

1. Those re-issuance forms contain attestations that each officer had been medically and

psychologically cleared by the Occupational Health Services Unit and also cleared by the Internal

Affairs Department (“IAD”). See id.

        A primary subject of Ms. Coleman’s Motion to Compel was how these BPD re-issuance forms

came to be signed on November 2, 2016, apparently at the behest of Pat Rose, the former President

of the BPD’s police union, see D.E. 114 at 7, 10; whether the medical and investigative documents

supposedly attached to the re-issuance forms actually exist; and if they do, what they say. Yet even

though Evans himself signed the re-issuance forms, and he should have further prepared to address

the documents as the City’s Rule 30(b)(6) designee, he was unable to provide useful information. For

example, when asked why, for each officer, there are two re-issuance forms, signed on different dates,

see D.E. 114-1, Evans testified:

        A. I don’t know. Maybe one was a preliminary firearm going back to them, and then
        maybe the next one was a more permanent firearm. Again, I’m looking at the forms. I
        don’t recall why this took place.
        Q. Did you do anything to find out?
        A. I did not.

Tr. at 53-54.

        With regard to the IAD and FDIT aspects of the re-issuance of weapons, Evans was unable

to answer questions about: what process, if any, was followed to clear the officers to receive weapons,

what the “IAD information presented to me” (referenced in the forms Evans personally signed, D.E.



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114-1) consisted of, or whether any IAD, FDIT, or other investigative procedure had actually taken

place as of November 2, 2016. He did not know whose signature appeared on the forms on behalf of

Internal Affairs, see Tr. at 47-48 (“A. . . . it’s a tough signature. I don’t want to say whose it is. Q. Did

you do anything to find out in preparation for today’s deposition? A. I did not.”).

        When shown the firearms re-issuance documents, signed by him on November 2, 2016, before

the officers were interviewed by FDIT or IAD, Evans testified:

        Q. And you said that you assumed that someone had looked at IAD records prior to
        this document coming across your desk? [discussing D.E. 114-1]
        A. You know, I don’t assume. I’m sure they read all the reports and looked at
        everything they had to before they gave this to me.
        Q. And what were those reports? Remember, the document was signed on November
        2nd . . . .
        A. I don’t know. I don’t know what they looked at.
        Q. Do you know if there were any reports that were written prior to November 2nd?
        A. I’m sure there was.
        Q. And what report would that be?
        MS. McATEER: Objection.
        A. I am sure the incident report, for one.
        Q. Is that an IAD record?
        A. Well, it would go to IAD, but I don’t know if IAD writes records. I don’t know
        what they did.
        Q. But your testimony is that the person who signed this document -- and you don’t
        know who that person is -- that that person looked at IAD records?
        MS. McATEER: Objection.
        A. I can’t speak for them. All I can speak to is they signed the record.
        Q. And on behalf of the City, did such IAD records exist when this form was signed?
        MS. McATEER: Objection.
        A. I don’t know.
        Q. What have you done to find out?
        A. Nothing. Again, I’m far removed from something that happened seven years ago.
        Q. Did you know that you are testifying under oath as a witness for the City and the
        Police Department?
        MS. McATEER: Objection.
        A. Yes.
        Q. And that that requires you to learn information that you did not personally know?
        MS. McATEER: Objection.
        A. I don’t have access to those records.

Tr. at 70-71.




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        Even with regard to the BPD’s re-issuance process in general, Evans gave conflicting and

incoherent answers about what investigative findings were required before the re-issuance of weapons

to officers involving in a fatal shooting:

        Q. Can you tell me generally after an officer-involved shooting how the process for
        reissuing firearms to officers is supposed to work?
        MS. McATEER: Objection.
        A. Well, from the best of my recollection, the officer after a shooting has his handgun
        taken. There’s a preliminary investigation done by the FDIT team along with Internal
        Affairs where they make a preliminary finding, and based on the preliminary finding,
        you know, with the District Attorney’s Office, who would be Dan Conley, a fitness-
        to-return-to-duty decision is made, or issuing back his firearm is made under the
        totality of the whole circumstance.
         Q. And you said it’s made based on the FDIT finding?
        A. Not on the FDIT finding, on the preliminary investigation.
        Q. By the FDIT team and the DA?
        A. No. I think by Internal Affairs in conjunction with the FDIT team. The DA will do
        a separate criminal investigation.
        Q. So who are the different players who should evaluate the officer and the situation
        before the firearms are reissued?
        MS. McATEER: Objection.
        A. Well, Internal Affairs, the FDIT team, and our human resource department.

Tr. at 39-40.

        As the City’s Rule 30(b)(6) witness, Evans could not identify the documents that accompanied

the re-issuance forms, which he signed, D.E. 114-1, nor could he describe the administrative process

that the documents supposedly reflect:

        Q. [Showing witness the firearms re-issuance documents] And do you see where
        there’s a checkmark next to the box that says, “Occupational Health Services Unit
        reports that the above officer has passed a physical/medical and/or psychological
        exam, and may carry a firearm without restrictions”?
        A. I see it.
        Q. Then it says, “(see attached sheet)”?
        A. Where does it say that? (Examines document) Oh, yes. Got it. I was looking at the
        wrong place.
        Q. Where is the attached sheet to which that notation refers?
        A. I’m not sure.
        Q. Did you do anything to find out before you came to testify today?
        A. I just had this form in front of me. I only went with what I had in front of me.
        Q. So as you sit here today, do you know on behalf of the City what attached sheet is
        supposed to accompany this form?



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        A. I know I got other paperwork. It could be one of those forms, but it’s not attached
        to the sheet I had.
        Q. Is there supposed to be a specific form?
        A. I don’t know.
        Q. And in this case, is it true that Occupational Health Services reported that the
        officer had passed a physical or psychological exam?
        MS. McATEER: Objection.
        A. Based on the form I’m looking at, the box is checked.
        ....
        Q. And in preparation for your deposition today as a witness for the City, did you do
        anything to figure out what in fact happened in the process in this case?
        A. I did not.
        Q. Were you aware that you were going to testify on this issue?
        A. I received this document, and I was aware I was going to have to speak on the
        document.
        Q. And were you aware you were going to have to speak about any information known
        by the Boston Police Department, not just information that you personally were aware
        of?
        MS. McATEER: Objection.
        A. I was not aware of that. I was given this document to look at, and that’s the – that’s
        all I did.

Tr. at 41-44.

        Evans was unable to provide any information about the BPD’s mental/psychological fitness

evaluations of Boyle and Finn. When shown documents concerning Finn’s medical/psychological

evaluation, see Sealed Ex. D, Evans testified:

        A. This is the first time I seen this.
        Q. On the bottom right-hand side, do you see the date, and then underneath it says,
        “per Nancy Driscoll”?
        A. I see her name, yes.
        Q. What does that mean to be dated [“]per Nancy Driscoll[”]?
        A. It means she seen this document and she’s signing.
        Q. Meaning she added the date or she added the signature on the left?
        MS. McATEER: Objection.
        A. I don’t know what that means.
        Q. Did you do anything to find out what happened in terms of clearing the officers in
        this case?
        MS. McATEER: Objection.
        A. This is the first time I seen this document. I don’t usually go down to the level of
        looking at all this paperwork.
        Q. And in your capacity as a designee for the City, did you do anything to find out
        what happened in terms of clearing the officers to return to work?
        A. I signed the final form that you showed me earlier, and that was about the extent.



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Tr. at 57-58. Given Evans’ complete lack of knowledge, either personally or as the City’s designee,

Ms. Coleman did not bother to show him additional documents about Boyle’s medical/psychological

evaluation. See Sealed Ex. E.5

        Although additionally designated as the City’s Rule 30(b)(6) witness to address the officers’

leave and return to work, see Sept. 15 Order ¶ 3(d)(ii), Evans was unable to answer basic questions:

        Q. On what date was Officer Finn cleared as fit to return to duty?
        MS. McATEER: Objection.
        A. Based on the paperwork I’m looking at, November 2nd of 2016.
        Q. And what was that clearance based on?
        A. I don’t know.
        Q. And when did Officer Finn actually return to duty?
        A. I don’t know.
        Q. Do you know if he returned to duty on November 2, 2016?
        A. I know the paperwork says that. I don’t know if he needed more time because of
        the trauma of the incident, so I can’t tell you when he physically returned to duty. I
        know the paperwork says 11/2, but if he was dealing with the Stress Unit [sic] or other
        matters, I’m not really sure when physically he did go back to duty.
        Q. Do you know what his status was in the interim?
        A. According to this, it says, “Full duty as of: 11/2,” and I’m sure before that time he
        was on administrative duty with pay.
        Q. And between 11/2 -- because I can represent to you that he did not actually return
        to work on 11/2 -- between 11/2 and the date on which he did return, what was his
        status?
        MS. McATEER: Objection.
        A. According to this, he’s back full duty.
        Q. So the testimony on behalf of the City is that Officer Kevin Finn returned to active
        duty on November 2, 2016; is that right?
        MS. McATEER: Objection.
        A. I’m not saying he returned to active duty. His status says, “Full duty.” I’m not saying
        he was physically active back on patrol. I have no knowledge of that.
        Q. What have you done to figure out what the officers’ leave status was and when they
        returned to work?
        MS. McATEER: Objection.
        A. Again, this is the first time I have seen this form [Sealed Ex. C]. I just looked at the
        paperwork in front of me. I did no investigation on anything further.

Tr. at 58-60.




        5
         Ms. Coleman contemporaneously files under Seal Exhibits D and E, comprising the BPD’s
medical and psychological evaluations of Finn and Boyle.


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        B.      The City failed to produce documents and prejudiced Ms. Coleman by its late
                production of documents.

        While the City produced some documents comprising the BPD’s evaluation of the officers’

fitness to return to duty, pursuant to ¶ 3(a) of the September 15 Order, see Sealed Exs. D & E, the

City failed to produce: documents (or testimony) sufficient to establish who signed the “Duty Status

Sheet” for Finn, Sealed Ex. D at COB 6206, or why that document is dated “November 2, 2016[,] per

Nancy Driscoll,” id.; the “psychological/FFD evaluation [of Finn] by Dr. Robert Mullaly,” id. at COB

6207; documents showing any medical or psychological evaluation of Boyle prior to December 8, 2016,

see Sealed Ex. E, notwithstanding the attestation on November 2, 2016, see D.E. 114-1; or the “attached

sheets” from the Occupational Health Services Unit that supposedly accompanied the firearms re-

issuance forms, D.E. 114-1, to confirm that the officers had “passed . . . physical/medical and/or

psychological exam[s].”

        Further, pursuant to ¶ 3(c) of the September 15 Order, the City produced several pages of

records concerning the re-issuance of firearms to Boyle and Finn after the shooting, but none of these

comprised the “IAD records and other information supplied to” Internal Affairs, referenced in the

firearms re-issuance forms, D.E. 114-1. Nor did the City produce Boyle and Finn’s applications for

licenses to carry firearms. See Sept. 15 Order ¶ 3.

        Moreover, the City’s unexplained late disclosure of critical documents, which should have

been produced years ago, has prejudiced Ms. Coleman. For instance, for years, Ms. Coleman requested

all IAD records concerning the fatal shooting of Terrence. The City first acknowledged that there was

an IAD investigation, of any kind, in December, 2020 – two and a half years into this case. See D.E.

114 at 16 (using the internal pagination of the Memo to Compel). The City suggested it had not

previously produced any IAD documents because it had been under the impression the IAD

investigation was still pending (although it produced no log indicating IAD document(s) were being

withheld on the basis of investigative privilege). See id. Then, more than a full year later, in January


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2022, the City produced the firearms re-issuance documents, which suggest that unidentified “IAD

records” existed as of November 2, 2016. See D.E. 114-1 at COB 3885, 3887. Those “IAD records”

still have not been produced. And, as discussed above, Evans was unable to answer questions as to

whether they exist.6

        Similarly, the City only recently produced the Commissioner’s Memos amending Rule 303,

including a set of 2020 revisions adding a de-escalation requirement and requiring officers to consider,

among other things, subjects’ “mental impairment,” “behavioral crisis,” “developmental disability,”

or “other factors beyond the individual’s control” before calibrating their force response. Ex. B at

COB 6398. These documents were plainly responsive to Ms. Coleman’s initial requests, and her

counsel should have had an opportunity to question the City’s other witnesses about them.7

        The same is true regarding the recently-produced FDIT training materials, COB 6215-6338,

which state, in relevant part, that “Any officer who has discharged or witnessed an[] OIS shall be

separated from any potential witnesses and ordered not to discuss the facts and circumstances of the

shooting incident with anyone other tha[n] their legal counsel, medical/mental health professionals,

or union reps.” COB 6305. Ms. Coleman has asked about the BPD’s questionable decision to

interview her at the hospital, on the night of the shooting, while providing Boyle and Finn several days

to prepare for their interviews (and to communicate with each other, both directly and through their

shared counsel), its failure to sequester them in the interim, seize their phones (or any relevant




        6
          The City’s designated Rule 30(b)(6) witness concerning IAD issues, Jeffrey Walcott, deposed
on August 20, 2021, was similarly unable to answer basic questions about any efforts by IAD to
investigate. See D.E. 114 at 20 & n.8; D.E. 114-13 (transcript).
        7
        To date, beyond the Commissioner’s Memo amending the Rule, Ex. B, the City has not
produced any evaluations, drafts, proposals, reports or other documents concerning the revisions.


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communication), instruct them not to communicate, or even instruct them to save their

communications.

        Finally, the City also recently produced emails concerning FDIT training that suggest that the

“goal” of such training is to “help the investigator understand an officer’s perspective relative to the

psychological and cognitive effects of an officer-involved shooting,” COB 6483, an objective that is

inconsistent with a neutral, diligent investigation concerning a fatal police shooting. Again, these

documents were responsive to Ms. Coleman’s initial requests, and her counsel should have had an

opportunity to question the City’s witnesses about them.

II.     THE COURT SHOULD DEEM CERTAIN FACTS ESTABLISHED, JUDICIALLY
        SUPERVISE THE REMAINDER OF THE CITY’S RULE 30(b)(6) DEPOSITION,
        AND ORDER THE CITY TO COMPENSATE MS. COLEMAN FOR THE FEES
        AND EXPENSES INCURRED LITIGATING THESE DISCOVERY ISSUES.

        District courts have broad authority to impose sanctions in response to a party’s failure to

obey discovery orders. Red Wolf, 2022 U.S. Dist. Lexis 162470, at *50 (citing Robson v. Hallenbeck, 81

F.3d 1, 2 (1st Cir. 1996); Fed. R. Civ. P. 16(f) & 37(b)(2)(A)). “Sanctions must be both ‘just’ and

‘specifically related to the particular ‘claim’ which was at issue in the order to provide discovery.’” Red

Wolf, 2022 U.S. Dist. Lexis 162470, at *51 (citations omitted). Permissible sanctions for “not obeying

a discovery order” include “directing that . . . designated facts be taken as established,” “prohibiting

the disobedient party from supporting or opposing designated claims or defenses, or from introducing

designated matters in evidence,” and “payment of expenses.” Fed. R. Civ. P. 37(b).

        Here, the City has dragged its heels in producing discovery for years, put forth witness after

witness on its behalf who have been unprepared to testify, failed to produce documents despite

repeated requests, and now violated this Court’s orders. Ms. Coleman has suffered significant

prejudice as a result, including the delay in litigation caused by the City’s conduct, the missed

opportunity to question witnesses concerning relevant documents, and the substantial expenditure of

resources in an effort to obtain discovery to which she is plainly entitled. The Court’s time and


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attention has also been wasted. Accordingly, Ms. Coleman requests several remedies. Specifically, she

requests that this Court direct that certain designated facts be taken as established for purposes of this

action, see Fed. R. Civ. P. 37(b)(2)(i); order the completion of the City’s Rule 30(b)(6) deposition under

this Court’s “live” supervision; order an award of monetary sanctions; and grant any other relief the

Court deems appropriate.

        A.       The Court should direct that certain designated facts be taken as established
                 for purposes of this action.

        Rule 37(b)(2)(i) permits the Court, as a sanction for violation of its discovery orders, to “direct

that matters embraced in the order or other designated facts be taken as established for purposes of

the action, as the prevailing party claims.” Accordingly, in lieu of attempting to depose Evans for a

third time, Ms. Coleman proposes that the following facts be deemed established for purposes of the

action. This list will need to be supplemented after the completion of Pratt’s deposition.

                 1.     Proposed established facts concerning the re-issuance of firearms

                As of November 2, 2016, when the BPD re-issued firearms to Boyle and Finn,
                 the BPD had not physically, medically, or psychologically evaluated them, nor
                 had either officer “passed a physical, medical, or psychological exam.” See D.E.
                 114-1.

                The one-page forms for the “re-issuance of firearms” to Boyle (id. at COB
                 3885) and Finn (id. at COB 3887), both dated November 2, 2016, did not
                 include any “attached sheets,” and as of November 2, 2016, no relevant “IAD
                 records” existed.

                The signature on the BPD “Duty Status Sheet” for Finn (Ex. D at COB 6206)
                 was backdated to November 2, 2016, at the direction of Nancy Driscoll, Chief
                 of the BPD’s Bureau of Administration & Technology.

                Before December 8, 2016, the BPD did not conduct any medical, physical or
                 psychology evaluation of Boyle (see Ex. E at COB 6203).

                As of November 2, 2016, when the BPD re-issued firearms to Boyle and Finn,
                 both officers were on “leave,” and neither officer had been issued a license to
                 carry a personal firearm under Massachusetts law.

                 2.     Proposed established facts concerning the officers’ leave from work



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               The BPD put Boyle and Finn on “leave,” with pay, due to “injury” – in Boyle’s
                case, for months, and in Finn’s case, for weeks – even though neither officer
                was seriously injured on October 30, 2016, and the BPD deemed both officers
                fit to be re-issued firearms as of November 2, 2016.

                3.      Proposed established facts concerning the re-evaluation of BPD Rule 303

               As of October 30, 2016, the BPD did not have any policy or practice that
                required officers, when interacting with persons living with mental illness, to
                make reasonable accommodations for their disabilities, to attempt to de-
                escalate situations, or to try to disengage from such situations, before resorting
                to force force.

               As of October 30, 2016, the BPD knew that persons living with mental illness
                were disproportionately the victims of police shootings, including fatal
                shootings.

               As of October 30, 2016, the BPD knew other police departments, in
                Massachusetts and elsewhere, had revised their policies and practices on the
                use of force and implemented new programs, such as crisis intervention teams,
                to reduce the heightened risk of police shootings involving persons living with
                mental illness.

               During Evans’ tenure at BPD, and until 2020, the BPD did not revise Rule
                303, regarding the use of force, to minimize the risk of police shootings
                involving persons living with mental illness.

       B.       The Court should judicially supervise the remainder of the City’s Rule 30(b)(6)
                deposition, as well as any additional witness interrogation that may be
                required.

       Ms. Coleman requests that completion of the City’s 30(b)(6) deposition be conducted under

the Court’s “live” supervision, including the questioning of Pratt and any further questioning of Evans

(should the Court decline to make factual findings as requested above). As part of its broad authority,

courts may judicially supervise depositions. See, e.g., Hofmann v. Hofmann (In re Renewable Energy Dev.

Corp.), Nos. 20-4040, 20-4041, 20-4045, 2022 U.S. App. LEXIS 24778, at *7 (10th Cir. Sep. 1, 2022)

(district court granted motion requesting judicial supervision of deposition, explaining that given the

“facts and history of this case,” judicial supervision was “an appropriate remedy,” and ordered

magistrate judge to supervise deposition); Barth v. City of Peabody, No. 15-13794-MBB, 2019 U.S. Dist.

LEXIS 103059, at *6 (D. Mass. June 19, 2019) (“This court also advised the parties that they could


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conduct the deposition at the courthouse in the event the deposition needed supervision.”); Condit v.

Dunne, 225 F.R.D. 100, 112 (S.D.N.Y. 2004) (finding parties “would benefit from on-hand Court

supervision of their depositions,” referring that supervision to a Magistrate Judge to supervise

consistent with Federal Rule of Civil Procedure 30 and the court’s Order).

        Given the number of unproductive depositions that Ms. Coleman has taken, at her

considerable expense, due to the City’s failure to prepare its witnesses in compliance with Rule

30(b)(6), this remedy is warranted. Ms. Coleman has repeatedly raised concerns about the lack of

adequate witness preparation with the City. See, e.g., D.E. 114-9 at 16-17 (July 14, 2021 letter to Defs.);

id. at 26-30 (Sept. 27, 2021 letter to Defs.); D.E. 114 at 19-20. The City initially refused Ms. Coleman’s

requests that it produce substitute witnesses and, when the Court ordered it to do so, failed to prepare

the witness (Evans) as it was required to, both under Rule 30(b)6) and under this Court’s orders.

        C.      The Court should award monetary sanctions.

        Ms. Coleman requests that a monetary sanction be imposed on the City, in an amount to be

determined at a later date, after fact discovery is complete, both to compensate Ms. Coleman for the

substantial time and effort spent corralling, cajoling, and attempting to compel the City to comply

with its discovery obligations, as well as a sanction against the City. Rule 30(d)(2) expressly authorizes

sanctions against anyone who “impedes, delays, or frustrates the fair examination of the deponent.”

Rule 37(b)(2)(C) provides that “the court must order the disobedient party, the attorney advising that

party, or both to pay the reasonable expenses, including attorney’s fees, caused by the failure, unless

the failure was substantially justified or other circumstances make an award of expenses unjust.”

(Emphasis added); see Red Wolf, 2022 U.S. Dist. LEXIS 162470, at *76; Fed. R. Civ. P.37(a)(5)(A),

(c)(1).8 The failures here are unjustified.



        8
       In addition to numerous rounds of correspondence with the City requesting documents, Ms.
Coleman also was forced to serve a second set of document requests, needlessly, in response to the


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       Finally, the Court should enter any other relief it deems just and appropriate.

                                              Respectfully submitted,

                                              HOPE COLEMAN

                                              by her attorneys,

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City’s baseless objection to producing the firearms re-issuance documents and FDIT materials that
the documents were outside the scope of Ms. Coleman’s original document requests. See D.E. 114-9
at 37-41. In order to avoid wasteful motion practice on that point, Ms. Coleman sent new requests on
October 28, 2021. The City then refused to produce the documents on the grounds it raised in its
Opposition to the Motion to Compel. See D.E. 116.


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                               CERTIFICATE OF COMPLIANCE

       I hereby certify that, in accordance with D. Mass. L.R. 7.1(a)(2), counsel for the parties have
conferred and have attempted in good faith to resolve and narrow the issues presented here.

                                                                /s/ Amy Barsky




                                  CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on December 23, 2022.


                                                            /s/ Amy Barsky




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